04/28/LL   THU14:12 FAX                                                                LgJUUZ
            Case 1:01-cv-12257-PBS Document 7529-1 Filed 05/02/11 Page 1 of 1




                     In re BMS AWP settlementof objectors claim


               of $I ,57lto Rw. Aaronson.
      t . Payment
                                                                               and
     2 . Rev.Aaronsonagreesto withdrawalof themotionto enforcetheoriginalMOU
         to withdrawal               to thesettlement.
                       to*hisobjection                       Rev.Aaronson
                                                    Of sourse,             also
         agrees                                    thesettlement.I am askingDonto
                notto appealttreCourt'orderapproving
                                                                            of
         rie pap-rswithirawingtheobjectionunamotionto enforcewithin 24 hours
         signingthisagreement.

      3 . ClassCounselagreeto supportRev.Aaronson's  requestfor incentiveaward,butof
          coursetheactuufurount llany incentive awardis up to thecourt.(Foryour
                                               incentiveawardalso,for whateverthatis
                      I will supporttherequested
          inforrnation,
          worthto the Court.)

                     shallacknowledge
      4 . ClassCounsel                         withdrawalasclassrepaso1'
                                   Rev.Aaronson's
          August5,2007.

      5 . Rev,Aaronson                 ClassCounsel
                      shallfully release           of all clairnshe mayhaveagainst
                      ClassCounsel
          them(although              donotbelievehehasany)'




      SeanMatt, Esq.for ClassCounsel            DonaldE. Haviland'J
                                                Rev.Aaronson

      Dated:April 2E,20II
